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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION


  LEANORA HALL,

                      Plaintiff,
  vs.                                             Case No. 3:11-cv-112-J-32TEM

  HUNTER WARFIELD, INC.,

                      Defendant.


                                           ORDER

        Upon review of the plaintiff’s Notice of Voluntary Dismissal (Doc. 7), this case is

  dismissed with prejudice. The Clerk shall close the file.

        DONE AND ORDERED at Jacksonville, Florida, this 1st day of June, 2011.




  mg.
  Copies to:
  Counsel of Record
